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                                 EXHIBIT 6
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY

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    Talc Claimants

    In re:                                                Chapter 11

    LTL MANAGEMENT LLC, 1                                 Case No.: 23-12825 (MBK)

                            Debtor.                       Honorable Michael B. Kaplan




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 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is 501 George
Street, New Brunswick, New Jersey 08933.
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                         RESPONSES AND OBJECTIONS
               TO THE DEBTOR’S FIRST SET OF INTERROGATORIES
               TO THE OFFICIAL COMMITTEE OF TALC CLAIMANTS

       Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure (the “Civil Rules”), as

made applicable herein by Rules 7026, 7033, and 9014 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), the Official Committee of Talc Claimants (“TCC”) hereby

responds and objects (the “Responses and Objections”) to Debtor’s First Set of Interrogatories to

the Official Committee of Talc Claimants (the “Interrogatories”), dated May 6, 2023, as follows:

                                   GENERAL OBJECTIONS

       The TCC incorporates into its specific Responses the following general and continuing

objections (the “General Objections”) as if they were set forth in full in specific response to each

interrogatory (each an “Interrogatory”). Although the General Objections may be specifically

referred to in a Response, failure to mention a General Objection specifically should not be

construed as a waiver of any such objection. Moreover, the assertion of the same, similar, or

additional objections in response to an Interrogatory does not waive any of the General Objections

set forth below.

       1.      The TCC objects to the Interrogatories as unduly burdensome and beyond the scope

of discovery permitted under Civil Rule 26(b)(1).

       2.      The TCC objects to the Interrogatories to the extent that they seek to impose

obligations on the TCC that are inconsistent with or greater than the obligations imposed by the

Civil Rules, the Bankruptcy Rules, or other applicable law or rule.

       3.      The TCC objects to the Interrogatories to the extent that they seek information

protected by the attorney-client privilege, work product doctrine, joint defense or common interest

doctrine, mediation privilege, or other applicable privilege or protection.



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       4.      The TCC’s discovery efforts are ongoing, and the TCC reserves its right to amend

or supplement these Responses and Objections as additional discovery and information becomes

available, or in the event of error, inadvertent mistake, or omission.

       5.      By making these responses and objections to the Interrogatories, the TCC does not

waive, but hereby expressly reserves, its right to assert any and all objections as to the admissibility

of such response into evidence in this action, or in any proceedings, on any and all grounds

including but not limited to competency, relevancy, materiality, and privilege. The TCC makes

these Responses and Objections to the Interrogatories without in any way implying that it considers

the Interrogatories to be relevant or material to this action.

       6.      The TCC objects to the Interrogatories to the extent they seek information already

in the Debtor’s possession, custody, or control.

       7.      The TCC objects to the Interrogatories to the extent they seek information more

easily obtained from other parties or third parties.

       8.      The TCC makes these Responses and Objections to the Interrogatories based on its

present knowledge and without prejudice to its rights to produce or object to evidence of any kind

and to amend or supplement its Responses and Objections as necessary at a later date.


                  OBJECTIONS TO DEFINITIONS AND INSTRUCTIONS

       1.      The TCC objects to the definition of “TCC” on the grounds that it is overbroad and

unduly burdensome and purports to require the TCC to produce information not within the TCC’s

possession, custody, or control.

       2.      The TCC objects to the Instructions on the grounds and to the extent they are

overbroad, unduly burdensome, and seek to impose obligations on the TCC that are inconsistent




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with or greater than the obligations imposed by the Civil Rules, the Bankruptcy Rules, the Local

Rules, or any other applicable agreement or rule.

                        SPECIFIC RESPONSES AND OBJECTIONS

Interrogatory No. 1

        If the TCC contends that the amounts proposed in the Proposed $8.9 Billion Settlement to

resolve either the mesothelioma Talc Claims or the ovarian cancer Talc Claims are inadequate to

provide fair compensation, identify the amount of trust funding that would be adequate to provide

fair compensation for the mesothelioma Talc Claims, as well as the amount of trust funding that

would be adequate to provide fair compensation for the ovarian cancer Talc Claims.

       Response to Interrogatory No. 1

       The TCC incorporates its General Objections as if set forth fully herein. The TCC further

objects to this Interrogatory on the grounds that it seeks privileged information protected from

disclosure insofar as, at this early stage in the bankruptcy case, any “amount of trust funding” that

the TCC may have determined “would be adequate to provide fair compensation” to talc claimants

necessarily would arise solely in the context of attorney-client privileged and/or attorney work

product-protected analysis. Additionally, because this chapter 11 case was not filed in good faith,

a plan cannot be confirmed and, thus, the premise of the interrogatory that a bankruptcy trust will

be the vehicle through which talc claimants are compensated is incorrect; the TCC objects to this

Interrogatory on that basis, as well. The TCC also objects to this Interrogatory on the grounds that

it is premature, insofar as the TCC was appointed only a month ago and continues to develop its

contentions based on information discovered through the bankruptcy process and the ongoing

analyses of its professionals and experts. Subject to the foregoing general and specific objections,

the TCC states that the amount(s) that will fairly compensate talc claimants are appropriately



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determined only outside this bankruptcy through the jury system and/or use of well-known tools

available through the court system for consensual resolution of mass tort claims. Even if a

bankruptcy trust in this case could be used to compensate talc claimants (and it cannot), the TCC

states that “the amount of trust funding that would be adequate to provide fair compensation” to

talc claimants is the combination of the 2023 Funding Agreement plus the value of the 2021

Funding Agreement that was fraudulently transferred prior to the commencement of this chapter

11 case, i.e., the total value previously available under the 2021 Funding Agreement.

Interrogatory No. 2

        Identify any estimates the TCC has developed, shared, or discussed concerning the dollar-

value of the aggregate liability attributable to all or any subset of the Talc Claims.

       Response to Interrogatory No. 2

       The TCC incorporates its General Objections as if set forth fully herein. The TCC further

objects to this Interrogatory on the grounds that it seeks privileged information protected from

disclosure insofar as, at this early stage in the bankruptcy case, any “estimates . . . concerning the

dollar-value of the aggregate liability attributable” to Talc Claims that the TCC may have

“developed, shared or discussed” necessarily would arise solely in the context of attorney-client

privileged and/or attorney work product-protected analysis.         The TCC also objects to this

Interrogatory on the grounds that it is premature, insofar as the TCC was appointed only a month

ago and continues to develop its contentions based on information discovered through the

bankruptcy process and the ongoing analyses of its professionals and experts. Subject to the

foregoing general and specific objections, the TCC states that it has not developed, shared or

discussed any nonprivileged estimate concerning the dollar-value of the aggregate liability

attributable to all or any subset of the Talc Claims.



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